4:07-cr-03036-RGK-CRZ      Doc # 99   Filed: 07/30/08   Page 1 of 1 - Page ID # 287



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )          4:07CR3036
                                        )
                  Plaintiff,            )
                                        )
      vs.                               )
                                        )          ORDER
JOSEPH ROBERT MORANDO,                  )
                                        )
                  Defendant.            )

      On the court’s own motion, and to accommodate a change in the undersigned’s
schedule,

      IT IS ORDERED that Defendant Morando’s sentencing is rescheduled to 10:00
a.m. on Thursday, August 7, 2008, before the undersigned United States District
Judge, in Courtroom No. 1, Robert V. Denney Federal Building and United States
Courthouse, 100 Centennial Mall North, Lincoln, Nebraska. The defendant shall be
present unless excused by the court.

      July 30, 2008.                  BY THE COURT:

                                      s/ Richard G. Kopf
                                      United States District Judge
